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                         IN THE UNITED STATES DISTRICT COURT

          FOR THE WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION



THE UNITED STATES OF AMERICA,


                       Plaintiff,                            Case No 1:20-CR-183-RJJ

V                                                            HON. ROBERT J. JONKER


ADAM FOX.

                       Defendant.



                          DEFENDANT ADAM DEAN FOX’S
                      MOTION IN LIMINE TO MODIFY THE COURTS
                  PRETRIAL ORDER TO ALLOW EVIDENCE REGARDING
                     SA CHAMBERS OWNERSHIP OF EXEINTEL, LLC



        Now Comes Defendant Adam Fox, by and through Counsel, Christopher M. Gibbons of

the Law Offices of Gibbons & Boer, and in support of his motion to modify the Courts pretrial

order of 2/2/22 to allow evidence regarding SA Chambers ownership of Exeintel, LLC

     1. The Courts pre-trial order on February 2, 2022, prohibited the Defendant’s from presenting

        any evidence regarding SA Chambers ownership of a private security consulting business,

        Exeintel, LLC. The Court specifically held that the potential prejudice of delay and

        distraction substantially outweighed whatever evidentiary value SA Chambers interest in

        Exeintel may have.

     2. Specifically, Adam Fox requests that the Court modify this order permitting him to

        establish on the trial record that SA Chambers owned, and was developing, a private
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       internet security consulting business from April 4, 2019, until December 14, 2021. In

       addition, to argue in his defense that SA Chambers personal interest in Exeintel, LLC

       adversely affected his judgement in conducting the investigation of the defendants in this case.

   3. Defendant Adam Fox submits that this is not complex, time consuming, or confusing and

       that his Sixth Amendment right to confront and cross-examine SA Chambers on this

       narrow issue should outweigh the Court’s concerns regarding delay or distraction.

Wherefore, Defendant Adam Fox requests this Court to modify the February 2, 2022, pretrial order

and permit Adam Fox to raise SA Chambers ownership of Exeintel, LLC and to argue that this

ownership and his personal ambition to develop the business affected SA Chambers judgment

during the investigation and indictment of these defendants.


Date: July 12, 2022.                         By:   /s/ Christopher M. Gibbons
                                               Christopher M. Gibbons
                                               Attorney for Defendant Adam Fox
